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APPENDIX 4

Excerpts from Deposition of
Richard Moyed

Page(s) 070-088

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Case 4:05-cv-00338-YR DOMARniMOYE DFiked TAKEN MARGH: 26,202 00GeID 139

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wu B&F WwW MN FEF OC BO OO NY HH WH SF WwW BH fF OO

has been the same. I'm not aware of any changes AAA
has made to that system, but I -- I have to add that
when APA adopted electronic voting it was before my

time with APA.

Q. Okay. And when did you begin with APA?
A. I started with APA in June of 2002, and it
was -- sometime later that year; I don't remember the

exact point that I took over as Election
Administrator.

Q. To your knowledge, was there a complaint
filed by a Mark Hunnibell chalienging the 2004
National officer elections?

A. Yes, there was.

Q. Okay. And to your knowledge, what was the
substance of that complaint?

A. That's an extremely difficult question to
answer because Mark Hunnibell's complaint was huge.
He had many, many, many different allegations on
that, and -- and I'm going to be honest, it's been
almost two years since this. I cannot recall every
-- every single allegation that -- that he made
there, but there were several.

Q. Do you recall whether there was an
allegation with respect to ballot secrecy for the

2004 National elections?

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Case 4:05-cv-00338-Y p PeAWREIMGyvED led PRE MARee De! 202 GtReID 140

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A. Yes. I -- I recall that he -- that that
was one of his allegations.

Q. Do you recall the nature of his allegation
with respect to secrecy?

A. well, generally speaking, I think he was
saying that there was an identification between the
-- that -- that a voter's vote somehow somebody could
determine how a voter voted, or who they voted for.

Q. Was that allegation in a timely complaint
to the APA following the election?

A. I do not recall, because what I do recal}
is is that Mr. Hunnibell filed a timely complaint and
-- and timely under our Constitution and Bylaws would
be within ten business days after the conclusion of
the election or the runoff election, if there is a
runoff. Subsequent to that ten-day period, Mr.
Hunnibell filed two subsequent -- what he labeled as
supplemental complaints, and I do not recall which of
those three complaints this allegation was contained
in.

Q. Okay. I'm going to hand you a document, a
couple of cover pages, and then it's numbered through

page 69. would you identify that document for us?

A. This was the decision of the APA Appeal
Board on -- well, it's -- it's addressed to two
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Case 4:05-cv-00338-Y R DOVARBntMGYE Dried DAKENWOMARKHE 28,202 0OGe1D 141

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Q. Who generates the employee number?

A. That 1S a number generated by American
Airlines.

Q. So it's not the APA employee's number;

it's an American Airlines employee's number?

A. Yes. And we use the same numbers in our
database.
Q. Who has access to employees, employee

numbers, for American Airlines?
A. I can't answer that completely because I
do not know who at American Airlines has access to it

is. I can tell you who within APA would have access

to that.
Q. Please.
A. Essentially any member in good standing

would have access an employee's number because you
can do a member lookup on the web site and that would
-- on a private side of -- member side of the web
site, and that would supply the -- share the employee
number.

Q. So any APA member in good standing could
look up another APA member's employee number?

A. On the web site, yes, ma'am.

Q. On the web site. Okay. Could

administrators for the APA look up an employee's

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Case 4:05-cv-00338-Y R DOKAR Bn MGYE DF ited DSKEMOMARGHE 2 Bf,202 OHeID 142

1 | they've been out on an extended sick leave or
@ 2 | personal of leave absence; so that list that we send

3 | to AAA on the day before the voting ends is the

4] up-to-date list of who is eligible to vote.

5 Q. Okay.

6 A. whose vote should be counted.

7 Q. Okay. When we talked a little earlier

8 | about any member in good standing and -- from the web
9 | site get another member in good standing's, employee
10 | identification number, what Web site are we talking
11} about? The AP --
12 MR. HOFFMAN: I‘m going to object to
13 | the form of the question.

—
fp

Q. (BY MR. STEWART) The APA'S or the

15 | American Airlines?

16 A. I do not know if there is an American

17 | Airlines web site that employee numbers are listed
18 | on. —

19 Q. Okay.

20 A. On the member side of the APA web site,
21] that information can be obtained by another member.
22 Q.- Okay. What was the APA's expectation of
23 | what the American Arbitration Association would do
24 | with the information and the members list?

25 A. It's a pretty, I think, wide-open

eo — 073

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Case 4:05-cv-00338-YR LOKARBnIMGYE DFited DSKENDMAREH @ 81,22 OOfjeID 143

1] question, but I'l] -- I'll try to answer it. The
® 2 | information as far as name and address was needed for

3 | AAA to mail out voting instructions and personal

4} identification numbers.

5 The information concerning employee

61} I.D. is used because in the electronic system there's
7 | two pieces of information a voter needs to put in and
8 | that's the employee I.D. and the personal

9] identification number that's assigned by AAA.
10 As far as domicile goes, that's
11 | primarily in the nomination round of voting is -- is
12 | -- is needed because the election for the nomination
13 | round the top three candidates in each domicile get

e
ph

to move on to the next election, so you need to look

15 | at each domicile, pilus we report voting, the results
16 | not only in a National Officer election not only for
17 | the total votes for the -- for the entire membership
18 | but by domicile.

19 Q. Okay. when the American Arbitration

20 | Association received the information that you

21] forwarded, to your knowledge, did they generate or --
22 | they or any contractor that they may have used

23 | generate their own unique number to attach to that
24] information?

25 A. They or somebody they contracted with

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Case 4:05-cv-00338-YR DeHARBniMGYE Drited DSKEN)CMAREA) 26 ,202006cID 144

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wo F&F WwW MN FE OF WO ON ODO WwW BP WwW HB HE OO

electronically?

A, I believe it was stored electronically.

Q. Okay. what's the basis of that, please.
A. On information that was told to me by AAA.
Q. Did the APA seek specific details from the

AAA or from Get-A-Geek in terms of how the
information would be stored by the contractors?

A. I'm not sure I'm following your question.

I mean, what do you mean by specific information?

Q. I asked you where the information for PIN
numbers were kept and you said you believed that it
may be in a database, at least that's what I
understood your answer to be.

So now I'm asking you what information
the APA solicited from its contractors in terms of

how information would be gathered and stored.

A. Best I could answer that would be
representations of -- of made to -- made to us by AAA
that this information would be secured that -- and

through their use of their voting systems and their
two servers and everything that -- that was a secure
method and -- and that it complied with Federal laws
and regulations regarding the conduct of Union
elections. I know that's not specifically answering

your question, but that -- that's -- we relied on

Q75

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Case 4:05-cv-00338-YR DGKARBniMGYE DEied DSKEMOMARGEHE 2 81,202 ObGjelD 145

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wm SF WwW NHN FEF CO HO WON DH wo Rh WwW H&B RP OC

representations made to us by AAA or who's in this
business of conducting elections in this business.
Q. And, again I asked, did they tell you

where that information would be stored?

A. Physically stored?

Q Yes.

A. No.

Q IT want to back up and address an issue

that we talked about a little earlier.

You referred to the members-only side
of the APA's Web site. How do members log in to that
portion of the APA's web site?

A. You go to the Internet and it's
www.alliedpilots.org. That would bring up a public
page of the web site. On that page there's a member
Sign-in and they would use their number and a
password that initially is assigned to the member by
the APA, but I believe can be changed by the member
later on. It's just kind of similar if you do online
banking or whatever; you enter in a number and a
password.

Q. Okay. Could anyone -- regardless of where
the PIN information was actually stored, to your
knowledge, was there any voter identification num ~-

information also stored with that number? I can

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Case 4:05-cv-00338-YR DOGARDNIMGYE DFiled TSHENOMARGHE 2 81,22 OOHeID 146

1] numeral No. IV in that letter?

@ 2 A, Decision by the APA Secretary-Treasurer to

3 | allow members to change their votes.

4 Q. Okay.

5 MR. HOFFMAN: I assume we will get a

6 | copy; when you enter something as an exhibit, the
7 | Rules is that you give opposing side a copy of that

8 | and usually at the time.

9 MS. PARKER: You can take a look at
10 | that letter, you're welcome to it. But at the close
11 | I'l] make a copy of all the exhibits if you'd like,
12 | although they will certainly be attached to the
13 | transcript when it comes.

© 14 Q. (BY MR. PARKER) To your knowledge, was
15 | one of the appendices -- we're going to have a copy
16 | of this one made as well. One of the documents
17 | in the appendices attached to that letter, a February
18 | 11th letter from Debra Hall to you --
19 A. I believe it was.
20 Q. -- regarding this election? Okay. could
21} you identify this document that's currently marked
22 | Chao Exhibit 341?
23 A. That is a letter to me dated February
24 | 11th, 2004 from Debra Hall of the Department of
25 | Labor.

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Case 4:05-cv-00338-Y R DGHAREnIMGYE DF iled DAKBNM6MARSAE 2Bof 220C&qelD 147

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wn & Ww MN FSF OO HO oO SN OD UO Hh WwW NY FE ©

Q. Okay. And could you tell me ~- you can
summarize or you're certainly welcome to read it, or
what the gist of the letter from Debra Hall to you
was?

MR. HOFFMAN:. I ob -- I object. The
letter speaks for itself.

THE WITNESS: She is alerting me to
what she terms a potential problem with allowing for
vote changes using a phone and Internet system.

Q. (BY MS. PARKER) Okay. And to your

knowledge, Mr. Hunnibell included that letter with

the com -- July 1st, 2004 challenge to the election?
A. I believe he did.
Q. Okay. And what's the basis of that.
belief?
A. The basis of my belief iS, number one,

that exhibit that you just handed me is labeled as a
Hunnibell exhibit and my memory from the time of the
filing of the complaint.

Q. Okay. Now, to vote in the 2004 APA

National officer elections -- and when I say the

officer elections, I'm speaking of both the election
and the runoff election.

So let me ask you: Was there any
difference in the process for voting in the original

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Case 4:05-cv-00338-Y RDGHARInt MOSEL iled VAKENGMARGH 12 Hf 2200&gelD 148

before the election, we send to AAA the list of
eligible voters. How that works, technically, in the
AAA system; that's beyond my knowledge. I probably
wouldn't understand it anyway.

Q. And I don't understand it. But I'm not
certain your response answered the question, and it
could just be how I asked the question, so I'm going
to try to rephrase the question.

what I want to know 1s, to your
knowledge, the system that was used in 2004. was
capable of linking a specific voter with the specific
vote cast by that voter?

A. Well, I know there's a system for
identifying whether a vote cast by a voter is from an
eligible voter. I do not know that there's a
connection between once that eligible voter is -- is
defined as an eligible voter that they can determine
what -- how that voter voted. That -- that part I
don't know.

Q. Okay. To determine whether an eligible --
to remove an eligible -- the ineligible voter's vote,
to your knowledge, would the system have needed to
know how that ineligible voter voted?

A. To my knowledge, I don't believe the

system would need to know how the ineligible voter

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Case 4:05-cv-00228-Y RBEGHARD: MOXE Diag DAKENGMARCH 128) 28 OBB gaID 1.49

1 | voted to remove that ineligible voter's vote.
@ 2 Q. Okay. To your knowledge, the system did

3 | not need to know that?

4 A. To my knowledge.

5 Q. Okay. The voting system also had a change
6} vote feature; is that correct? And we're talking

7 | about the voting system used in the 2004 National

8 | officer elections, APA's.

9 A. Yes, that is correct.
10 Q. Okay. And to change a vote, what
11 | information did a voter need?

12 A. The same information that I testified to
13 | before about what the voter would need to vote in the
© 14] first place.

15 Q. Okay. Could you just go ahead and let me
16; know what that information is?

17 A. well, they would need to know either -- if
18 | they're voting by telephone they would need to know
19 | what phone number to call, they would need to know
20 | their employee number, they would need to have their
21 | personal identification number that AAA issued to
22 | them. In voting by the Internet they would need to
23 | know what web site to go to, the web address, they
24 | would need to know the identifier to put in -- to get
25} to the APA National officer election, and they would

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Case 4:05-cv-00338-Y RDGHARIt VO%ED iled TAMENGMARGH 124 22 0P4gelD 150

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me NM NN NM ON NH Re BE PO OP YP EP PP eS KS
wo & WwW NM FP © WW OO NN DT wm FB WwW NY FH OC

need their employee number and personal
identification number.

Q. Okay. Now, when a voter changed his or
her vote in the 2004 National officer elections,
would, to your knowledge, both votes be counted
towards the total votes?

A. Both votes. Are you referring -- when you

say both votes to the original vote and the changed

vote?
Q. Yes, sir.
A. No, the only vote that would be tallied

would be the last one he entered.

Q. Okay. So to your knowledge, the original
vote cast would have to be removed from the pool of
votes; 1s that accurate?

A. I'm not sure how that technically
happened, but if a voter went in on day one and voted
for voter A and then went in on day three and voted
for voter B, the system's going to count his vote

that he made on day three and not on day one.

Q. So although you don't know the technical
details, do you know in some way ~-- and when I say I
don't know -- taking the representations that you

made, but I understand you to say that, you know, jin

some way that original vote is removed. would that

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Case 4:05-cv-00338-Y RDEGHAREt MOE D- iled TAMENGMARGH 128f 2200GgeID 151

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wo F&F Ww MN PP OF wo won OH mH Hh Ww Nw HP OC

be accurate, or iS gone?

A. The original vote is not counted.

Q. Okay. To your knowledge, how does the
system used by APA in the 2004 National officer

elections keep track of what the original votes were?

A. I do not know.
Q. Okay.
A. I mean, I don't know how it works

technically with the telephone and Internet voting

system.

Q. But in using or selecting a contractor, it
was the APA's purpose that, however they do it,
they'd figure out a way not to count votes that have
been changed. would that be accurate?

A. well, they would -- as I said before, the
last vote made by that voter would be counted.

Q. Did the APA seek any details with respect
to the election system to help it feel confident that
ineligible voters' votes would be able to be removed?

A. The APA acted and relied upon
representations that were made to us by AAA that with
APA providing AAA with the eligible voter list that
they would be able to have the system where only the
votes of the eligible votes would be counted.

Q. Okay. And what confidence did you receive

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Case 4:05-cv-00338-Y RDGHAREnt MOM“EF iled TAKEN6GMARGH 12&f 22006geID 152

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“ kW N BP Ow eBN An BW N BO we

from AAA that they would be able to accurately tally
the election notwithstanding the changed vote
feature?

A. I'm not sure I understand your -- your
question. If you can maybe rephrase it or repeat it.

Q. I can. I can. It would be important for
APA to ensure that each vote gets counted. Would
that be correct? .

A. Each vote from an eligible voter, yes.

Q. And it would be important for the AAA to

ensure that each vote from an eligible voter is

accurately counted. would that be true?

A. Accurately counted meaning that if the
voter voted for candidate A that it reflects --
candidate A would get at that vote? Yes.

Q. Yes, yes. And it would be important, I
would assume, for there to be assurances that if a
voter came and changed his vote from candidate A to
candidate B that that change would be accurately
reflected in the final tally. Would that be --

A. The -- the vote would -- in the
hypothetical that you just gave, the vote would be
counted for candidate B in that voter.

Q. And then I'm asking what assurances, if

any, was given to the APA that that could happen in

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Case 4:05-cv-00338-Y RDOBARM(M6%E Dr iled DAREN GMARKE 1B8f 220@6gelD 153

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Mm NM NM NY NM NO RP BE RP SE Ee BSP PP be
wo fF WN FP ODO Yb ON DH WT BR Ow Be FE

the 2004 elections.

A. Best I can say to that iS AAA represented
to us that it could be done.

Q. Okay. Did you specifically discuss with

the AAA this change vote feature?

A. Did I specifically --

Q. No, I meant --

A. -- address that to APA?

Q. I'm talking to you. I said APA. Yes.

A. APA discussed the -- at that time with --

with AAA in that we wanted that feature, and they
assured us that it could be done. The next time, to
my knowledge, of when it was discussed was the
receipt of the letter from Ms. Hall.

Q. Okay. Now, without getting into any
technical aspects of the system, we know that voters
cast a vote and the AAA, either itself or through its
contractor, had that information, had the information
on the ballot regarding what vote was cast. Does
that make sense? I can -- I can try to rephrase it.

A. No it doesn't because I'm not sure when
you're saying that information what you're referring
to,

Q. Uh-huh. A voter voted in the 2004

elections, correct? But let's just say random voter

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Case 4:05-cv-00338-Y RBGHARDt MOX“E DF iled TANENGMARGH 127&f 2200GqeID 154

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wn F&F WwW NY HP DOD 0b ON DMD Mw BR WwW NS FP ©

Q. Okay. And when you say the system
complies with Federal rules, did the APA rely on the
AAA'S representation that it complied with the
Federal rules, or did the APA say these are the
Federal rules as we understand it; your system needs
to meet these requirements?

A. Wwe relied on representations by the AAA.

Q. Okay. Okay. Let's talk about. -- I
understand you don't know the details about how these
servers worked. To your knowledge, did the APA's
contractors have stored in whatever manner, written,
electronic, in a database, that we don't know where
that database exists, did those contractors have the
names of voters for APA?

A. Yes.

Q. Did they have the employee identification
numbers for APA voters?

A. Yes.

Q. Did they have personal identification

numbers for APA voters?

A. yes, but -- and I just want to go on the
rec -- APA did not.
Q. Okay.- But we're talking about the

contractors now,
A. Yes.
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Case 4:05-cv-00338-Y RDGHARGtMO™ME Le iled TAKEN GMARG 128s 22006geID 155

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NO NM NM OMS NM ON RB BP RPP RP BP Ee Be -E
we fF WN FP DOD Oo ON DM MH kk WwW NY FE Oo

A. They were addressed to -- to AAA.

Q. Okay. Could you tell me what assurances
AAA gave the APA?

A. wel] --

Q. -- to address the concerns that are

referenced in that letter?

A. Upon receipt of this letter, I forwarded
this letter to Jeff Zaino of AAA and I called Mr.
Zaino to talk about this letter and this Subject, and
Mr. Zaino assured me that the system that they use
was in compliance with the LMRDA and -- and
regulations and that, in fact, people from AAA had
had conversations with Labor Department officials
concerning this and there was no problems raised, and
that Mr. Zaino would contact Ms. Hall to discuss this
matter with them, and I never heard another thing
about it since then.

Q. Okay. So if I understand your testimony,
you received the letter, you spoke with Mr. Zaino,
Mr. Zaino assured to AAA that its system complied.
Was there any additional follow-up? I know you said
you didn't hear anything. Did the APA do any
additional follow-up with respect to the concerns
addressed in that February 11th letter before the

2004 APA National Officer elections?

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Case 4:05-cv-00338-Y R DOBARM(tMOXE Oiled DAMENDSMARS4 128of 220 @GgelD 156

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wo & WwW NM FF OF WO OHO NSN OD WN & Ww NN FE ©

A. There was something in your question that
was wrong, but again, I'l] just -- I called mr. Zaino
of the AAA and he assured me that the system was
within the law and regulations, that there had been
prior discussions with Labor Department officials and
that he would be talking with Mr. Hall -- Ms. Hall,
I'm sorry, Debra Hall. I assumed that Mr. Zaino
would do as he said he would do and would get back to
me if there were any further problems. I never heard
back either from Mr. Zaino or from Ms. Hall or for
that matter from anybody else from the Department of
Labor.

Q. So you don't know whether Mr. Zaino

actually followed up with Debra Hall?

A. well, I --

Q. I'm talking about knowledge now that the
APA has.

A. IT do know that now that he did follow up

with Debra Hall. That he did do as he represented to
me that he would do.

Q. were any changes suggested by the APA to
the AAA in response to the concerns raised in the
letter?

A. Did the APA -- I want to make sure I

understand your question. Did the APA suggest any

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Case 4:05-cv-00338-Y RDGHARENt MONME Tiled DAKENGMAREH4 2D&F 2200 GgelD 157

Ny NN NM NON BP RP RP FP BP BF BP SP ES Re.
wv Fk WN PrP ODO Oo ON DH BF WwW NY FP DO wo ON DH WH B&B WwW NB PF

changes --
Q. Yes, sir.
A. -- to AAA?
Q. Yes, sir.
A. with -- when I spoke with Mr. Zaino, I

asked him if there was something we needed to change
because of this letter and all that, and -- and he
told me that there was not.

— Q. Okay. Was it the APA or the AAA's
decision to use a change vote feature?

A. It was the -- it was the APA's decision to
use the change vote feature and that decision was
based upon representations made by AAA that the
change vote feature could be used and still be in
compliance with Federal law and regulations.

Q. Okay. To your knowledge, would -- strike
that.

To your knowledge, were there any
concerns voiced by APA members regarding the change

vote feature prior to the 2004 National officer

elections?
A. Not to my knowledge.
Q. Okay. So to your knowledge, were there

any concerns expressed by APA voters regarding the

change vote feature after the election?

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